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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



UNITED STATES OF AMERICA,                     :      CASE NO.: 1:21-CR-869
                                              :
                       Plaintiff,             :
                                              :      JUDGE SOLOMON OLIVER, JR.
       vs.                                    :
                                              :
CHELSEA PERKINS,                              :      DEFENDANT CHELSEA
                                              :      PERKINS’ RESPONSE TO
                       Defendant.             :      GOVERNMENT’S MOTION IN
                                              :      LIMINE TO EXCLUDE CHARACTER
                                              :      EVIDENCE VIA SPECIFIC INSTANCE
                                              :      EVIDENCE (R. 157)


       Because Chelsea Perkins intends to introduce specific instance evidence to demonstrate

that Matthew Dunmire was the initial aggressor, the Court should deny the government’s motion

to exclude any specific instance evidence. The government asks the Court to exclude any evidence

of specific instances as character evidence, arguing that Matthew Dunmire’s character is not an

essential element of any charge or defense in this case. This argument is incorrect, because Ms.

Perkins is offering this relevant, probative evidence for a permissible purpose.

       I.      Dunmire’s history of violence is an essential element of Ms. Perkin’s self-
               defense claim.

       Dunmire’s previous actions are related to an essential element of Ms. Perkin’s self-defense

claim. The government defines the essential elements of self-defense, including that “the defendant

had reasonable grounds to believe and an honest belief that he/she was in imminent danger of death

or great bodily harm.” (R. 157: Mtn to Exclude Specific Instances, p. 3). Ms. Perkins intends to

use specific instance evidence of Dunmire’s history of violence towards women to demonstrate
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that she had reasonable grounds to believe and an honest belief that she was in danger on March

6, 2021.

        II.     Ms. Perkins had knowledge of Dunmire’s prior acts and will submit evidence
                of these acts for a permissible purpose under Federal Rule of Evidence 404.
        Generally, evidence of specific instances of prior conduct may not be admitted. But there

are two exceptions to this rule. Specific instance evidence may be admitted when: (1) the defendant

knows of prior violent acts and admits the evidence to show the defendant’s fear or the

reasonableness of the defendant’s actions under FED. R. EVID. 404(a)(2)(B); or (2) to show the

defendant’s state of mind under FED. R. EVID. 404(b)(2).

        When seated on that log on March 6, 2021, Ms. Perkins had personal knowledge of specific

instances of Dunmire’s history of violence against women. (See R. 159, p. 2-3). The government

concedes that prior act evidence is admissible if the defendant had knowledge of the acts at the

time of the offense. (R. 157: Mtn to Exclude Specific Instances, p. 7). Ms. Perkins intends to show

that she was aware of Dunmire’s prior acts. Therefore, as the government concedes, these acts are

admissible.

        The government relies on two easily distinguishable cases to argue that the Court should

exclude specific instance evidence. The government first directs the Court to United States v.

Gregg. 451 F.3d 930, 934 (8th Cir. 2006). In that case, Gregg’s counsel notified the court, in

response to the government’s motion in limine, that he did not intend to introduce specific acts

evidence. Id. The court granted the motion in limine, allowing Gregg to introduce reputation

evidence about the alleged victim’s character. Id. While Gregg did not intend to offer evidence of

specific acts, the court nevertheless explicitly stated that “specific acts . . . may be admissible under

Rule 404(b) to prove a defendant’s state of mind.” Id. at 935 (8th Cir. 2006). The court also noted

that specific instance evidence is “admissible to the extent a defendant establishes knowledge of


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such prior violent conduct at the time of the conduct underlying the offense charged.” Id. Ms.

Perkins can satisfy this standard.

       The government then directs the Court to United States v. Keiser. 57 F.3d 847 (9th Cir.

1995). Keiser sought to admit evidence of an incident that occurred during trial, not before the

alleged offense. Id. at 849–50 (describing the incident that occurred outside the courtroom during

trial). Because it occurred during trial, the incident could not have impacted Kesier’s state of mind

or the reasonableness of Keiser’s actions at the time of the offense.

       Because the cases that the government cites are distinct from this case, the Court should

find that Dunmire’s prior acts are admissible.

       III.    This Circuit’s precedent allows admission of Dunmire’s prior bad acts.
       Even if Ms. Perkins was unaware of the acts, the evidence is admissible as evidence that

Dunmire was the initial aggressor. In this circuit, evidence of other acts is probative if “(1) the

evidence is offered for an admissible purpose, (2), the purpose for which the evidence is offered

is material or ‘in issue,’ and (3) the evidence is probative with regard to the purpose for which it

is offered.” United States v. LaVictor, 848 F.3d 428, 446 (6th Cir. 2017); (see also R. 159, p. 5

(describing LaVictor)).

       In this case, Ms. Perkins intends to admit testimony of Dunmire’s sexual abuse and history

of violence. This evidence is offered to show Dunmire’s intent, and whether Ms. Perkins held an

honest belief of fear and reasonably believed that fear, on March 6, 2021. Furthermore, evidence

of Dunmire’s prior acts impact whether he may have acted with this intent at the time of the alleged

offense.




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       IV.     Specific instance evidence of Dunmire’s prior acts comports with Rules 403
               and 401.
        All evidence must satisfy Federal Rules of Evidence 401 and 403 to be admitted. Rule 401

determines whether evidence is relevant. Evidence is relevant if it “has any tendency to make a

fact more or less probable than it would be without the evidence; and . . . is of consequence in

determining the action.” FED. R. EVID. 401. Other district courts in this circuit have found evidence

of violent acts or reputation to be relevant to show a defendant’s state of mind given a self-defense

claim. Allen v. Howes, 599 F. Supp. 2d. 857, 872 (E.D. Mich. 2008) (finding that evidence of

“violent acts or reputation would be relevant to show a state of mind consistent with self-defense”

in determining whether exclusion of evidence violated right to present defense). Here, the evidence

sought impacts the probability that Ms. Perkins believed she was being assaulted and whether she

reacted in self-defense as a result. That determination goes directly to the heart of Ms. Perkins’s

self-defense claim.

       Rule 403 allows courts to exclude evidence if its probative value is substantially

outweighed by unfair prejudice, confusion of issues, misleading of the jury, undue delay, wasting

time, or needlessly cumulative evidence. Courts within this circuit, when determining whether

evidence is unfairly prejudicial, examines whether the testimony is “extensive, graphic, or

detailed” and whether it is likely that the “testimony could . . . inflame[] the jurors’ passions and

motivate[] them to convict [or acquit] on an improper basis.” United States v. Mandoka, 869 F.3d

448, 459 (6th Cir. 2017). The Court should also consider whether it can provide a limiting

instruction to prevent the jury from using the evidence improperly. Id.

       The evidence is highly probative. It is not extensive, graphic, or detailed. Nor will it lead

the jurors to convict or acquit on an improper basis. It will not confuse the issues, mislead the jury,

cause undue delay, or waste time. Neither will it needlessly present cumulative evidence.


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Furthermore, it will not unfairly prejudice the government. Federal Rules of Evidence

404(a)(2)(B), (C) expressly allow the government to rebut any evidence offered by Ms. Perkins,

and a limiting instruction can inform the jury of the proper use of the evidence. See LaVictor, 848

F.3d at 448.

       V.      Conclusion

       Ms. Perkins intends to admit evidence of Dunmire’s prior bad acts, according to the

requirements and exceptions within Federal Rules of Evidence 405 and 404. Because this relevant,

highly probative evidence is being offered to show Dunmire’s intent, the Court should deny the

government’s motion to exclude this evidence.

                                             Respectfully submitted,

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